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                          UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF PENNSYLVANIA

                              )
VICKY AND RONALD              )                  Case Number: 10-5172
GIDDINGS, h/w                 )
                              )
           Plaintiff          )
            vs.               )
                              )
NCO FINANCIAL SYSTEMS, INC.   )
             &                )
WYSE FINANCIAL SERVICES, INC. )
             &                )
FIA CARD SERVICES             )
           Defendants


                               NOTICE OF DISMISSAL


       PLEASE TAKE NOTICE that plaintiffs, VICKY and RONALD GIDDINGS,

h/w, pursuant to Rule 41(a)(1)(i) of the Rules of the United States District Court, hereby

dismisses the action captioned above, with prejudice.




                              BY:_/s/ Bruce K. Warren
                                     Bruce K. Warren, Esquire
                                     Attorney for Plaintiff
                                     Attorney I.D. #89677
                                     Warren & Vullings, LLP
                                     1603 Rhawn Street
                                     Philadelphia, PA 19111
                                     215-745-9800
